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     SPIRIT OF ALOHA TEMPLE, INC.
     and FREDRICK R. HONIG
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                       IN THE CIRCUIT COURT OF THE SECOND CIRCUIT                                           =';E'
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     SPIRIT OF ALOHA TEMPLE,INC. AND                     Civil No. l6-l-0103 (1)
                                                                                                                c
     FREDRICK R. HONIG,                                  (Agency Appeal)                                ;ffi    t-
                   Appl icants -Appellants,              Agency Docket/Case No. SUP2
                                                         20t2/0032
           vs.
                                                        APPLICANTS-APPELLANTS'
    COUNTY OF MAUI AND MAUI PLANNING                    OPENING BRIEF; CERTIFICATE OF
    COMMISSION,                                         SERVICE

                  Agencies-Appellees

                                                        JUDGE: Honorable Rhonda I.L. Loo
                                                        TRIAL DATE: None Set


                         APPLICANTS.APPELLANTS' OPENING BRIEF

                                   PRELIMINARY STATEMENT

           Spirit of Aloha Temple, Inc. and Frederick R. Honig (hereinafter Applicants-Appellants

    or Appellants) bring this appeal to challenge the Maui Planning Commission's Findings of Fact,

    Conclusions of Law, Decision and Order Denying a State Land Use Commission Special Use

    Permit (the "Decision") to use their property located at 800 Haumana Road, Haiku, Maui (the

    "PropertSr") as a church in Special Use Permit Application SUP2 201210032 (the "Application").




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     On April 8,2014 a divided Planning Commission denied the Application by operation of a rule

     counting abstentions as affirmative votes: Three members of the Commission voted to affirm the

     motion to deny the Application, three opposed the motion to deny, and two abstained.                   I



     Furthermore, one of the Commission members who voted to deny the Application held personal

     hostility toward the Applicant, which he clearly expressed on the record.

            The Commission's Findings of Fact, Conclusions of Law, Decision and Order Denying a

     State Land Use Commission Special Exception for the Spirit of Aloha Temple/Fredrick Honig

     was issued on October 30,2014. Those Findings and Conclusions were not based on reliable,

     probative and substantial evidence on the record as a whole; were incorrect as a matter of law;

     and were arbitrary, capricious and an unwarranted exercise of discretion.


                                       QUESTIONS PRESENTED

            1. Was the Maui County Planning Commission's denial         of Spirit of Aloha's application

     for a State Land Use Commission Special Use Permit based on reliable, probative and substantial

    evidence on the record as a whole?

            2. Was the Maui County Planning Commission's denial of Spirit of Aloha's application

    for a State Land Use Commission Special Use Permit erroneous as a matter of law?

            3. Was the Maui County Planning Commission's denial of Spirit of Aloha's application

    for a State Land Use Commission Special Use Permit arbitrary, capricious and an unwarranted

    abuse of discretion?

                                             JURISDICTION

            I
             Under the Maui County Planning Commission Rules of Practice and Procedure $ 12-
    201-24(c), an abstention (unless as a result of disqualification for conflict of interest) is counted
    as an affirmative vote. Thus, the vote to deny the Permit passed 5-3. The parliamentary
    maneuver of making a motion to deny the Application before one was made to approve it thus
    dictated the outcome of the vote; had the motion been to approve, the application would have
    been approved by operation of the same Rule of Practice.




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                The Circuit Court has jurisdiction over this appeal pursuant to Hawaii Revised Statutes   $

     9l-14.     Section 91aa@) provides in pertinent part:

              Any person aggrieved by a final decision and order in a contested case or by           a
              preliminary ruling of the nature that deferral of review pending entry of a subsequent
              final decision would deprive appellant of adequate relief is entitled to judicial ,".,iew
              thereof under this chapter; . . . .

     H.R.S. $ 9l-14(b) provides that proceedings for review shall be instituted in the circuit court

     within 30 days after service of the certified copy of the final decision and order of the agency

     pursuant to rule of court.

              The Planning Commission's final Decision and Order in SUP2 2012/0032 was served on

     October 30,2014.

              This Appeal was originally filed in federal District Court on November 26,2014 (less

     than 30 days after the service of the certified copy of the final decision and order) pursuant to 28

    U.S.C. $ 1367(a), as a claim over which the federal court had supplemental jurisdiction2 (Count

    X of the federal Complaint),      and was dismissed without prejudice by that court   on   January 27,

    2016. Spirit of Aloha Temple v. Cty. of Matti, Civ. No. 14-00535, 2016 WL 347298 (D. Haw.

     Jan. 27, 2016) (SOM)         (RLP). The federal action both    appealed the Commission's action

    pursuant to H.R.S. $ 91-14, as well as challenged the denial and certain land use regulations

    under the Religious Land Use and Institutionalized Persons Act, 42 U.S.C. $$ 2000cc et seq.,the

    First and Fourteenth Amendments to the United States Constitution, and the Hawaii Constitution

    Article I $$ 4 and   5.


            The District Court subsequently dismissed Count X of the Appellants' federal Complaint

    without prejudice, holding:

            2The United States District Court had supplemental jurisdiction over Count X of the
    federal complaint (Appellants' appeal pursuant to H.R.S. $ 9l -14), as it was "related to claims in
    the action within such original jurisdiction that they form part of the same case or controversy
    under Article III of the United States Constitution;' 28 U.S.C. g 1367(a).




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              The court declines to exercise supplemental jurisdiction over Count X and dismisses
              Count X without prejudice to Plaintiffs' pursuing of that claim in state court pursuant
              to 28 U.S.C. $ 1367(d).

     Spirit of Aloha Temple, Civ. No. 14-00535,2016 WL 347298 at *74. The Districr Courr further

     stayed the federal case with respect to the remaining Counts in the federal Complaint.

               The federal supplemental jurisdiction statute states:

              (d) The period of limitations for any claim asserted under subsection (a), and for any
              other claim in the same action that is voluntarily dismissed at the same time as or
              after the dismissal of the claim under subsection (a), shall be tolled while the claim is
              pending and for a period of 30 days after it is dismissed unless State law provides for
              a longer tolling period.

     28 U.S.C. $ 1367(d). The District Court issued its Order on January      27,2Arc. This Appeal was

     filed within the additional 30-day period during which the period of limitations for Appellants'

    appeal pursuant to H.R.S. $     9l-14 is tolled by 28 U.S.C. g 1367(d).

                             APPELLANTS SPECIFICALLY RESERVE ALL THEIR
                                     RIGHTS UNDER FEDERAL LAW

              Appellants reserye for independent adjudication in the federal courts all federal questions,

    including but not limited to any federal First or Fourteenth Amendment claims, and claims

    arising under the Religious Land Use and Institutionalized Persons Act, 42 U.S.C. 2000cc er
                                                                                     $
    seq., for adjudication before the United States District Court. See England v. La. State Bd.          of
    Med. Exam'rs,375 U.S. 411 (1964). The federal District Court stayed the remaining counts in

    the federal action against the County, and "stay[ed] the present case pending the state circuit

    court's determination of the matters raised in Count   X."   Civ. No. 14-00535,20L6 WL 347298 at
    *9.   The only cause of action to be determined in this state circuit court agency appeal is Maui

    County's violation of the Hawaii State Administrative Procedures Act, Hawaii Revised Statutes,

    Chapter   9l   et seq.




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                                   BRIEF STATEMENT OF FACTS

            PARTIES

            Appellant Spirit of Aloha Temple, Inc. is a domestic nonprofit corporation formed under

     the Laws of the State of Hawaii for religious purposes. (COM 000075.) Appellant Fredrick R.

     Honig resides at 800 Haumana Road, Haiku, Maui, and is an ordained licensed minister of

     Integral Yoga. (COM 000677.) He is a Hindu monk who studied and lived in monastic and

     religious communities for decades. (COM 000514.) Appellants have established a magnificent

     Botanical Garden at the 800 Haumana Road properfy over the last two decades. (COM 000007.)

            Appellee Maui Planning Commission is a Planning Commission established pursuant to

     Titles 6 and 13 of the Hawaii Revised Statutes, and is charged with the responsibility of hearing

     and determining applications for State Land Use Commission Special Use Permits goveming

     certain properties such as those owned by Appellants.

     II.    PROPERTY AND ZONING REGULATIONS

            The property that is the subject of special use permit application S[IP2 201210032 is

    approximately 11 acres located at 800 Haumana Road, Haiku, Maui (the "Property"), and

    approximately one mile makai of the Hana Highway. (COM 000007.) The Properfy is further

    described as Tax Map Key No. (2) 2-8-0A4:A32. (COM 000001.)

            The Property is located in the State Agricultural District, Paia-Haiku Community plan,

    and the County Agricultural Zone. (COM 000053.) The Property's Land Use Category is

    Agriculture and it is located within the Special Management Area. (COM 000053.) Churches

    and religious institutions are permitted as       a   special use   in the Agricultural   district.

    (coM   000078.)




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            The Property's current uses are as a botanical garden, a bird sancfuary, and for staff

     housing. These uses also include promoting Hawaiian plant-based horticulture and nutrition, and

     restoring the historic taro   lo'i.   (COM 000083.) The Appellants' botanical garden on the

    Property is a permitted use in the Agricultural District. (COM 000009.) "Guided garden tours"

    are permitted on the Property under H.R.S. $ 205-2(dX12) and as an accessory use of "open land

    recreation" under M.C.C. $ 19.304.050(8)(11). (COM 000083.)

            Appellants additionally sought approval through their application to use the Property as a

    "Church" use, which would include religious services, meetings, lectures and events for small

    numbers of people. (COM 000071.)

    III.    SPBCIAL USE PERMIT APPLICATION.

            On November 21, 20L2, the Appellants filed an application (the "Application") for a

    State Land Use Commission Special Use Permit (SUP2 201210032) to hold weekly church

    services for up to 20 people on Saturdays from 10:00 a.m.         to 2:00 p.m., operate a living
    classroom for nature guardian skills for up to 23 people 4 times per week, and conduct sacred

    programs, including educational, inspirational and spiritual programs, and spiritual commitment

    ceremonies such as weddings for up to 80 persons 24 times per year and up to 40 persons 24

    times per year at the Property. (COM 000071-COM 000072.) The Appellants proposed to use

    the existing structures for purposes of the church use, so that no new structures were to be built.

    (coM   000084.)

    ry.    MITIGATION OF LAND USE IMPACTS.

           Appellants spent more than fourteen months working with the Maui County Planning

    Department (the "Planning Department") and other govemmental agencies              to   address the

    County's concerns and mitigate any land use impacts that may have resulted from the proposed




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     church use, including any concerns with additional      traffic. (COM   000083, COM 00008g.)

     These efforts were summarized     in the Planning Department's Report and Recommendation of

     March 25,2014.     (coM 000070-coM 000091, coM 000402-coM 000409.)

            The Planning Department recommended approval of the Application with         2l   conditions.

     (COM 000402-COM 000409.) After consultation with the Planning Department, the Appellants

     agreed with those conditions and further limited the proposed use as follows:

            The classroom was to be limited to use by no more than 24 persons, including staff;

            There were to be no more than four classes per week, all between the hours    of 10:00
            a.m. and 2:00 p.m.;

            Church services were to be limited to one per week with a maximum of 24 attendees
            and would usually be conducted on Saturdays between the hours of 10:00 a.m. and
            2:00 p.m.;

            No more than 48 church-related events per year, of those no more than half could
            have between 25 and 40 participants and staff;

            No more than two events with 25 to 40 persons could be conducted per month;

            There could be no more than four church-related events per month,

           All   church-related events were to take place between 10:00 a.m. and 8:00 p.m.;

           Shuttle buses were to be used to transport participants to the church-related events
           that involved between 25 and 40 participants;

           The shuttles would use privately owned facilities, not public ones, for drop off and
           pick up;

           There would be no more than25 people on the Property except for 59 days a year;

           The attendance would further be limited by the waste water system's limits;

           Records of events, dates, attendance and type would be maintained and submitted to
           two  separate County agencies each year. Failure to submit them could result in
           revocation of the permit;

           obtaining approvals from the State Historic preservation Division;

           Several specific Department of Health Safe Water Drinking Branch Test results for       a
           vaiety of chemicals and bacteria;




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            Approval   of the Department of Health Environmental Health           Services Division
            regarding all food consumed on the premises;

            No food was to be prepared on the premises for any event;

            A parking plan had to be approved by the Zoning          and Enforcement Division and
            submitted to the Planning Department;

            The permit would expire on March 31,2016, subject to applications for renewal; and

            A hardened driveway approved by the Fire Department and Department of Public
            Works.

     (coM 000402-coM 000409.)

            The Planning Department noted that no new buildings or structures were proposed, that

     the church use will utilize the existing structures in a shared use arrangement, and that .,[t]he

     church is intended to complement and support the existing agricultural uses of the property and

    the open and rustic setting of the area." (COM 000083.)

            Other State and County agencies reviewed the Application and their comments were

    provided regarding potable water availability, wastewater capacity, traffrc, police and fire

    department access, archeology, and adherence with the agricultural zoning         of the property.
    (COM 000070-COM 000091.) All such agencies indicated that they had no objection to the

    Application. The Planning Department noted that the use would "place little burden on public

    sewers, water systems, drainage systems or educational     facilities." (CoM 0000g4.)

            The Planning Department's Recommendation noted that any concern about possible

    vehicular and pedestrian traffic impact had been addressed by both the Police and Fire

    Departments. (COM 000088.)        It   states that   "fi)n light of these comments the Department
    discussed the matter with public safety agencies and developed conditions to mitigate the effect

    on traffic and public services." (COM 000089.)




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            In order to mitigate traffic impacts along Haumana Road, the Department of             Public

     Safety/Police Department recommended that the number of visitors and hours of operation for

     church related events be limited. (COM 000072.) Those limitations were adopted and made part

     of the Application as finally submitted. The Recommendation quoted the Police Department's

     comment as stating: "There are no objections to the progression of this project at this time, from

    the police standpoint, in regards to pedestrian and vehicular movement." (COM 000083.) With

    respect to the nalrow road conditions of Haumana Road, the Planning Department stated: "the

    Department has worked with the applicant and public safety agencies to limit the number             of
    visitors, events, and hours of events." (COM 000084.)

            With respect to the State zoning statutes, the State Plan, H.R.S. Chapter 226 (which

    provides guidelines for long-term development of Hawaii), and the County of Maui General

    Plan, the Planning Department noted that the Application would be permissible as an "unusual

    and reasonable" use under the State Plan and that     it furthered no fewer than eleven   Objectives,

    Goals and Policies of the County Plan. (COM 000080-COM 000081.)

            The Planning Department also considered the Application in light of the local Paia-Haiku

    Community Plan and again found that            it   promoted the goals    of   that land use    plan.

    (coM 000080-coM 000082.)

            The Planning Department also reviewed the requirements for a Special Use Permit in the

    Agricultural District, found in H.R.S. $$ 205 and 2054. (COM 000083-COM 000085.) It

    specifically found that the proposed use meets those standards, that       it will   complement and

    support agricultural use, and that   it will not adversely affect   surrounding property or burden

    public services. (COM 000083-COM 000084.) The Recommendation also noted that "the

    proposed church and agricultural education uses      will complement existing agricultural   uses   of




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    the property using existing buildings and structures." (COM 000084, COM 000404.) The

    Recommendation included a conclusion       of law that "[t]he application for a State Land        Use

    Commission Special Permit complies with the applicable standards            for an 'unusual       and

    reasonable' use within the State Agricultural   District." (COM 000404.)

           With regard to impact on surrounding properties, the Recommendation stated: "If

    approved with conditions, the applicant   will implement mitigative   measures   to limit impacts on

    the surrounding area, including noise, traffic and burdens on public service." (COM 000403.)

    That Recommendation further noted that "[c]hurches or related uses are not uncommon in the

    State Agricultural District under the provisions        of a State LUC Special Use Permit."
    (coM   000404.)

           The Appellants also amended their application to reduce the number of events to only 12

    events per year for up to 20 people, 12 events per year for up to 40 people, 12 events per year   for

    up to 60 people, and 72 events per year for up to 80 people, further reducing vehicles entering

    the Property as a result of the Application. (COM 000054-COM 000055.) In a further effort to

    mitigate the concerns of local residents the Applicant amended the Application orally during the

    April 8, 2Al4 heaing to further restrict special events to day light hours and restricting most of

    them to between 10 a.m. and 4 p.m. (COM 000059, COM 000062.)

   IV.     SPECIAL USE PERMIT PROCEEDINGS BEFORE THE PLANNING
           COMMISSION.

           On March 25, 2014, the Commission held a public hearing on the Application.

   (COM 000058.) At the conclusion of the hearing a motion was made to deny the Application.

   (COM 000058.) The motion passed with six ayes voting for denial and fwo excused, and the

   special use permit was denied. (COM 000058.)




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            Appellants thereafter requested reconsideration of the denial. (COM 000058.) The

    Appellants submitted a further reduction in the church events             in   support   of its   request for

    reconsideration as follows: 6 programs per month for up to 4 hours and for up to 24 participants

    from 10 a.m. to 4 p.*.;   and   2 programs per month for up to 6 hours and up to 40 participants            (l
    from 10 a.m. to 4p.*., and      I from   10 a.m.   to 8 p.m.). (COM 000059.)

           On April 8, 2014, the               Planning Commission reconsidered              the   Application.

    (COM 000058.) Appellants again amended the Application to further reduce the number and

    size of church related events that they would          hold. (COM 000062.) A motion to rescind the
    previous denial passed by a vote of 5 to       I   with 2 excused. (COM 00A062.) Appellants orally

    amended the Application to reduce the proposed number of church events to include eight per

    month with a maximum of ten cars per event. (COM 000062.) Two of the events could have up

    to 40 people and the remaining six events could have        tp to 24 people. (COM 000062.)          Seven   of
    the eight events would end by             4   p.m., with the remaining event ending            by g p.*.
    (COM 000062.) The Planning Department again recommended approval of the Application,

    subject to the conditions. (COM AAAA62.)

           At the conclusion of the deliberations on reconsideration, a motion was made to deny the

    State Land Use Commission Special Use              Permit. (COM 000063.) Initially, in the first vote,

    only two members of the Planning Commission assented to the Motion to deny the permit.

    (COM 000063.) Three members abstained. (COM 000063.) Three members                                dissented.

    (COM 000063.) After this vote, the Planning Commission determined that the Chair needed to

    vote and could not abstain, so another vote was taken. (COM 000063.) K. Ball assented in this

    second vote and voted   to deny the application. (COM 000063.) The second vote was three

    assents to the Motion, two abstentions, and three dissents. (COM 000063.) Thus, only three                  of



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    eight members     of the Planning Commission voted to deny the special                use permit,
    (COM 000063.) However, under the Maui County Planning Commission Rules of Practice and

    Procedure, 5 12-201-24(c), an abstention (unless as a result of disqualification for conflict     of
    interest) is counted as an affirmative vote. Thus, the vote to deny the Permit passed 5-3.

                                      STANDARD OF REVIEW

           The standard of review of an agency decision was recently stated as follows:

                   HRS $ 91-74, entitled "Judicial review of contested cases," provides in
           relevant part:

                  (g) Upon review of the record the court may affirm the decision of the agency
                  or remand the case with instructions for further proceedings; or it may reverse
                  or modi$r the decision and order if the substantial rights of the petitioners may
                  have been prejudiced because the administrative findings, conclusions,
                  decisions, or orders are:
                  (l) In violation ofconstitutional or statutory provisions; or
                  (2) In excess of the statutory authority or jurisdiction of the agency; or
                  (3) Made upon unlawful procedure; or
                  (4) Affected by other error of law; or
                  (5) Clearly erroneous in view of the reliable, probative, and substantial
                  evidence on the whole record; or
                  (6) Arbitrary, or capricious, or characterized by abuse of discretion or clearly
                  unwarranted exercise of discretion. . ..

           "An   agency's conclusions of law are reviewed de novo, while an agency's factual
           findings are reviewed for clear error[.]" Del Monte Fresh Produce (Hawaii), Inc. v.
           Int'l Longshore & Warehouse Union, Local 142, AFL-Crc, 112 Hawai'i 489,499,
            146 P.3d 1066, 1076 (2006) (citations omitted). A finding of fact is clearly erroneous
           when "(1) the record lacks substantial evidence           to support the finding or
           determination, or (2) despite substantial evidence to support the finding or
           determination, the appellate court is left with the definite and firm conviction that a
           mistake has been made." Id. (intemal quotations omitted) (quoting In re Wqter [Jse
           Permit Applications, 94 Hawai'i 97, LL9,9 P.3d 409,431 (2000). "substantial
           evidence is credible evidence which is of sufficient quality and probative value to
           enable a person of reasonable caution to support a conclusion." Del Monte, ll2
           Hawai'i at 499, 146 P.3d at 1076 (internal quotations omitted) (quoting In re Water
           Use Permit, 94 Hawai'i at 119,9 P.3d at 431\).

    Martinez v. State Bd. of Nursing,l3T Haw. 83, 87-88, 365 P.3d 1012, 1016-17 (Ct. App.2016).

           Judicial review is confined to the record before the administrative agency except in



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    certain unusual circumstances not present in the instant case:

              In an agency   appeal, judicial review is generally confined to the administrative
              record.     HRS $ 91-14(0 ("The review shall be conducted by the appropriate court
                        ,See
              without a jury and shall be confined to the record, except that in the cases where a
              trial de novo ... is provided by law and also in cases of alleged irregularities in
              procedure before the agency not shown in the record[.]" (Emphasis added)).

    DW Aina Lea Dev., LLC v. Bridge Aina Lea, LLC.,134 Haw. 187,216,339 P.3d 685,714

    (2014).

                                                 ARGUMENT

    I.        THE TESTIMONY RELIED UPON BY THE PLANNING COMMISSION TO
              SUPPORT THE CONCLUSION OF LAW THAT THE REQUESTED USE IS
              NOT "UNUSUAL AND REASONABLE" IS INAPPOSITE AND DOES NOT
              MEET THE REQUIRED STANDARD OF RELIABLE, PROBATIVE AI\D
              SUBSTANTIAL EVIDENCE ON THE RECORD AS A WHOLE.

              A.        The Plannine Commission Denied the Application Based on Concerns About
                        Traffic and Road Safety.

              The Commission based its conclusions of law on Section 15-15-95 of the Hawaii

    Administrative Rules, which lists the following guidelines established in determining an

    "unusual and reasonable use":

                           The use shall not be contrary to the objectives sought to be accomplished
                           by chapters 205 and 2054, HRS, and the rules of the Land Use
                           Commission;
                           The desired use would not adversely affect surrounding property;
                           The use would not unreasonably burden public agencies to provide roads
                           and streets, sewers, water, drainage, and school improvements, and police
                           and fire protection;
                           unusual conditions, trends and needs have arisen since the district
                           boundaries and rules were established; and,
                           The land upon which the proposed use is sought is unsuited for the uses
                           permitted within the district.

   (COM 000064-COM 000065.) Specifically, the Planning Commission's Conclusions of Law

   denying the Appellants' special use permit were based on the traffic impacts of such proposed

   use:




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             [A]fter hearing testimony from neighbors that live adjacent to or nearby the Property
             and after questioning the Applicant and Consultant, the Commission concluded that
             the uses requested in the Application did not constitute an 'unusual and reasonable'
             use in the Agricultural District.

            The Commission found that the uses proposed in the Application would adversely
            affect the surrounding properties in conflict with 15-15-95(2) HAR. The
            Commission received substantial negative written testimony from nearby property
            owners on Haumana Road and North Holokai Road. Additionally during the hearing
            nearby property owners submitted additional oral visual and written testimony
            regarding concerns about the safety of Haumana Road for both potential visitors and
            property owners along Haumana Road. The Commission found such testimony
            reliable and compelling.

            The Commission found that granting the uses would increase traffic and burden
            public agencies providing roads and streets, police and fire protection, in conflict
            with 15-15-95(3), HAR, and gave the following reasons for a denial of the
            Application on that basis: significant concerns about the narrowness of Haumana
            Road and vehicle and pedestrian safet-y both to potential visitors to the propeq, and
            ProPe4v owners alone Haumana Road and the fact that the ProErr.v is at the
            tefminus of Haumana Road and therefore traffic to the Prope4y would neeatively
            impact residents safet), and use of Haumana Road.

    (COM 000065 (emphasis added).)

           B.      The Denial of the Application Based on Traffic Safety Concerns Is Clearly
                   Erroneous and not Based on Reliable. Probative and Substantial Evidence on the
                   Record as a Whole.

           An agency's conclusions of Law may be           reversed   if   the Court finds that they    are

    elroneous. Its findings of fact may be reversed   if they are unsupported by reliable, probative   and

    substantial evidence on the record as a whole.

            Under HRS $ 9l-la(g)(5) (1993), findings of fact are reviewed to determine
            whether they are "[c]learly erroneous in view of the reliable, probative, and
            substantial evidence on the whole record." A finding of fact is clearly erroneous
            when the record lacks substantial evidence-i.e., credible evidence of a sufficient
            quality and probative value to enable a person of reasonable caution to support a
            conclusion-to support the finding. Bremer v. Weeks, l04Hawai'i 43, 51,85 P.3d
            150, 158 (200\; McPherson v. zoning Bd. of Appeals, 67 Haw. 603, 606,699 p.2d
            26,28 (1985).

    Surfrider Found. v. Zoning Bd. of Appeals, 136 Haw. 95, 107, 358 P.3d 664, 676 (20L5), as




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    corrected (Oct. 6, 2015), reconsideration denied, No. SCAP-XX-XXXXXXX,2016 WL 698555

    (Haw. Feb. 19, 2016).

             An agency's findings of fact are reviewable for clear error, while its conclusions of
             law are freely reviewable.

    Kilauea Neighborhood Ass'n v. Land (Jse Comm'n of State of Hawaii, T Haw. App. 227, 229,

    7sIP.2d r031, 1033 (1988).

            In this   case, the conclusion    of law of three members of the Planning Commission that
    "granting the uses would increase traffic and burden public agencies providing roads and streets,

    police and fire protection, in conflict with l5-15-95(3), HAR" is clearly erroneous, because it

    plainly contradicts all of the evidence from the public agencies that granting the application

    would nol unreasonably burden them.

            The finding    of "significant   concerns about the narrowness of Haumana Road and vehicle

    and pedestrian safety both to potential visitors to the property and property owners along

    Haumana Road and the fact that the Property is at the terminus of Haumana Road, and therefore

    traffic to the Property would negatively impact residents' safety and use of Haumana Road"

    ignores the "reliable, probative, and substantial evidence on the whole record" and instead (a)

    credits anecdotal, self-serving and insufficient evidence of nearby residents, and (b) ignores the

    extensive mitigation of traffic concerns, which the Appellants agreed to implement and which

    the public safety agencies considered more than sufficient to insure traffic safety.

                      1.     The clear, uncontradicted evidence demonstrates that the application does
                            not "unreasonably burden public ogencies to provide roads and streets,
                            sewers, water, drainage, and school improvements, and police andfire
                            protection"

           HAR 15-15-95(iii)     sets out the   following relevant standard:

           (iii) The use would not unreasonably burden public agencies to provide roads and
           streets, sewers, water, drainage, and school improvements, and police and fire



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            protection;

            With respect to the Application, the Police, Fire and Public Works agencies were all

    asked to comment on    it.   They all reviewed the application and the conditions requiring shuttle

    buses for larger events, reducing the number     of events, strictly limiting the number of people

    who could attend events and restricting events to daylight hours. The mitigating factors that they

    requested were all included in the amended Application. Each of those agencies stated that they

    had no objection to approval of the Application as amended. (COM 000088 and the exhibits

    mentioned therein.)

           There is no contrary evidence anywhere within the record about a burden to public

    agencies, and thus the Conclusion of Law that the Application would burden public agencies is

    clearly erroneous.

                   2.     The reliable, probative and substantial evidence in the record as a whole
                          indicates that the application as amended does not negatively impact
                          resident safety.

                          a-        The reliable, probative and substantial evidence of knowledgeabre
                                    public officials demonstrates that the proposed church use would
                                    not negatively impact safety.

           Haumana Road, like many rural roads on Maui, is narrow, but that does not mean that          it
    is inherently "unsafe." Entirely absent from the record is any record or testimony regarding        a

    single accident on Haumana Road. This is true despite traffic resulting from the Property being

    open to the public as a botanical garden for almost twenty years, and the road used by many

   residents on a constant basis.

           With respect to the Application, there were two categories of evidence in the record: (1)

   the reports of the professional officials whom the County relies upon to ensure the safety of its

   citizens, and who unanimously supported the amended Application, which included the




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    mitigation efforts-specifically designed to protect public safety regarding traffic and road

    conditions-that they requested, (see COM 000077 for list of all their affirmative responses);

    and (2) a series of opinions from people who lived on or near Haumana Road and were opposed

    to the church use.

                                b.      The public agencies' professional opinions.

            The record (COM 000077-COM 000073) lists eight County agencies, five State agencies,

    and one federal agency that were consulted and commented on the Application.                All of them
    approved   it   as   it was presented. With regard to traffic safety, the County Fire Department, police

    Department and Department of Public Works all opproved the Application. (COM 00008g-

    COM 000089.) Their concerns were all noted and incorporated in the Planning Department's

    Recommendations. (COM 000402-COM 000409.) Significantly, the Police Department's

    Report of February 13,2013 concluded:

           There are no objections to the progression of this project at this time, from the police
           standpoint, in regards to pedestrian and vehicular movement.

    (coM   00021s.)

           The testimony of those officials were summarizedand discussed by Appellant's

    representative Kevin Hoeke in his written testimony at the       April   8 Commission Hearing

           At the hearing two weeks ago, the road was portrayed as being much more narrow
           than it actually is. . I agree the road LOOKED very narrow as pictured. But the
           pictures did not have-[a] reference point such u, u  in the shot. The truth is cars
           easily pass by each other across the great majority of "i,
                                                                   the [H]aumana road. The road is
           paved and has speed bumps. There is good to excellent visibility in all but two small
           sections and in one of these sections the road acfually and easily functions as a
           legitimate two laner.

            The road was portrayed as a dangerous one lane road from top to bottom and this is
           just not true.

           The police and fire departments clearly agree. They looked directly at this issue as
           experts and put in writing that the road was safe for our project.. -> AND that
           determination was not based on the current 20 car per week proposal. That


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            determination of safety from the experts was based on an earlierproposed level of use
            that would have resulted in many times more vehicles than the project which we are
            currently proposing.

            20 vehicles a WEEK on a [H]aumana is NOT the kind of important safety issue that
            could reasonably justifu telling a church that they carurot fulfill the minimal church
            purposes proposed.

    (COM 000734-COM 000735.) As a matter of common sense, practical experience with zero

    accidents, and logic (and as confirmed     by the public agencies charged with protecting public

    safety), there can be no reasonable dispute that permitting such a de minimls increase in traffic

    on Haumana Road would not "unreasonably burden public agencies to provide roads and streets,

    sewers, water, drainage, and school improvements, and police and fire protection" or "adversely

    affect the surrounding properties" and that the proposed use was "reasonable." No evidence

    demonstrated otherwise.

           The unanimous opinions of the Police, Fire and Public Works Departments is reliable,

    probative and substantial evidence that granting the Application would not endanger safety on

    Haumana Road. The Commission's conclusion that the Application does pose a safety threat is

    directly contrary to this evidence. It is not possible to reach the conclusion of three members of

    the Commission that the Application is a safety tltreat without disregarding all of this evidence.

                            c.     The mixed opinions of local residents regardingHaumana Road.

           What then is the evidence that would justify ignoring the reliable, probative and

    substantial evidence   of all the public safety and traffic experts described above? It consists of

    statements   in emails and at the public hearings from people who drive on Haumana Road. That

   testimony shows mixed opinions as to the condition of the road and its safety.

           In addition to the Applicant, seven witnesses testified that they had experience driving

   Haumana Road and believed it to be safe for the uses described in the Application. (COM

   000604-coM 000605, coM 000734-coM 000735, coM 000747-coM000757, coM


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     000759-coM 000761.)

            Six witnesses and one Commission member opined that Haumana Road was not safe for

     the proposed uses. The testimony of one of those witnesses, Jessica Caudill, demonstrates that

     she was confused about the number of vehicles involved in the Application as amended and was

     objecting to vehicular traffic that she thought would be about six times the amount actually

     requested

            So in my estimation the traffic will abruptly double. The minimum amount of extra
            cars will be 15 most days, and 20 cars once a week.

    (coM   000610.)

            Three of the opponents resided at one location, the sisters Nancy and Stephanie Gilgoff

    (who testified twice) and their former tenant Lisa Kasprizyeki. Stephanie Gilgoff only objected

    to events at night, and the Application had already been amended to require all events to take

    place during the day. (COM 000614.) Ms. Kasprizyeki pointed out that sometimes there were

    situations where cars would have to ptrll off and stop when two vehicles were passing (COM

    000763), which is not evidence that the road is unsafe.

           Nancy Gilgoff testified at both hearings. Her testimony centered on the fact that the road

    floods in major storms and is impassable at those times. She estimated that this occurred

    approximately two or three times a year during storms. (COM 000759.) Of course, in

    conditions like this there would be little or no traffic on the road. She also opines that the most

    dangerous part of the road is where   it is widest. (COM 000757.) She, like Ms. Kasprizyeki, also

    misunderstood the Application as seeking night events.    (coM   00075g.)

           Daniel Mizner also testified twice, opining that tbe Application would be unsafe for the

    residents andthat weddings have nothing to do with agriculture.   (CoM      000617.)

           The final witness who opined that the conditions would be unsafe was Antoniopjazza,



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    another opponent of the Application. His principal safety concern had nothing to do with the

    road, but rather his view that   if   someone   fell from the cliff on the Property the County might be

    sued. (COM 000611.) This was not a basis            for the Planning Commission's decision. (COM

    000064-COM 000066.) As to road conditions he candidly stated:

            [T]he short answer to your question is traversine that road in daylieht is perfectl],
            reasonable. Traversing it at night not in the rain is a challenge. Traversing
                                                                                      it at night
            in the rain if there's no one coming in the other direction is an adventure.

    (COM000 612 (empha,sis added).) Since the Application is for events during the daylight hours

    only, his testimony actually supports the position that there is no traffic safety problem resulting

    from the Application.

                            d.       Haumana Road's narrow conditions were the temporary result of
                                     encroachment of the County's right of way by adjoining property
                                     owners, and can be corrected at any time.

           The opposing witnesses and the Commission also erred in basing their opinion and

    Conclusions of Law on the naffowness of Haumana Road. But the narrow condition of the road

    was not a permanent condition, and certainly not caused by the Appellants or their proposed

    use.3 The uncontradicted evidence on the record is the testimony of Department of Works

    employee Ms. Dagdag-Andaya, that the County in fact has a 40-foot right of way along the road

    (COM 000762) and the narrowness of the road in some places is the result of private property

    owners who have allowed vegetation to encroach on the County's right of          way. (COM 000643,
    COM 000728-COM000729.) If those property owners, some of whom opposed the Application,

    complied with their obligations not to encroach on the right of way, Haumana Road would be

    substantially wider

           Ms. Dagdag-Andaya: well, typically about           l0 to 11, ll-foot   standard for ag/rural
           3
            The term "was" reflects the fact that since the decision on the Application, the County
    Department of Public Works has cleared much of the overgrown vegetation from its right of way
    on Haumana Road.


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            road for travel lane. And in the past, with this particular application we've asked for
            20-foot pavement width to allow for safe travel of two cars to pass through. So yeah,
            according to our standards it would have to be about 1l feet wide.

            Mr. Spence: That's I I feet wide per lane?

            Ms. Dagdag-Andaya: Per lane.

            Mr. Spence: So 22 feet total?

            Ms. Dagdag - Andaya: Yeah.

            Mr. Spence: And then I recall standard right of way for ag roads was 40 feet?

           Ms. Dagdag-Andaya: Right, that's correct, 40-foot wide right of way."

     (COM 000162.) So the narrow condition of Haumana Road may be significantly ameliorated by

    enforcement of the County's right of way at any time, and in fact the Counfy has recently done

    so.


                          e.      The testimony of the few witnesses who stated that Haumana Road
                                  was unsafe for the uses in the Application was not "reliable,
                                  probative and substantial."

           [A finding of fact] or a mixed determination of law and fact is clearly erroneous when
           (1) the record lacks substantial evidence to support the finding or determination, or
           (2) despite substantial evidence to support the finding or determination, the appellate
           court is left with the definite and firm conviction that a mistake has been made. We
           have defined "substantial evidence" as credible evidence which is of sufficient quality
           and probative value to enable a person of reasonable caution to support a conclusion.

    In re Vlater Use Permit Applications, 94 Hawai'i at 119,9 P.3d at 431 (internal quotation marks

    and citations omitted). Accord, Panoke v. Reef Dev. of Hawaii, Inc., 136 Haw. 448, 460,363

    P.3d296,308 (2015).

           The Hawaii Supreme Court has closely scrutinized the evidence before administrative

    agencies to determine whether the evidence adduced in fact supports the precise issue before the

   agency and found that when it was inapposite, it was not substantial.

           As discussed below, the LIRAB erred in finding that Reef and Seabright presented
           substantial evidence sufficient to overcome the presumption that Pankoke's shoulder



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            injuries were work-related. Although Reef and Seabright presented reports from three
            physicians opining that Panoke's shoulder injuries were not caused by the June 17,
            2004 work accident, none of these physicians explained why the ltne 17, 2004
            accident could not have aggravated Panoke's pre-existing shoulder injuries, or,
            similarly, why Panoke was asymptomatic prior to June 17,2004, but then started
            suffering from shoulder problems shortly afterwards. As a result, the medical reports
            of the employer's physicians do not provide a sufficient degree of specificity to
            constitute substantial evidence to rebut the presumption that Panoke's shoulder
            injuries were work-related.

    Panoke, 736 Hawaii at 461,363 P.3d at 309. See also Pulaw,a v. Oahu Const. Co., 136 Haw.

    217,226,361 P.3d 444,453 (2015).

            Such is the case with the witnesses in this case who opposed the Application on the

    grounds   of "traffic safety." As   discussed below, most     of their   evidence was based on a

    misunderstanding of the number of events for the proposed use, and assuming incorrectly that

    events would take place at night, when in fact they would all be during daylight, infra.

           The Supreme Court has also held that where, as here, "the record               demonstrates

    considerable conflict or uncertainty     in the evidence, the agency must articulate its factual
    analysis with reasonable clarity, giving some reason for discounting the evidence rejected,." See,

    e.9., Green v. Shalala, 51 F.3d 96, 101-02 (7th   Cir. 1995); Thompson v. Bowen, 850 F.Zd,346,

    349 (8th Cir. 1988); Vemco, Inc. v. NLRB, 79 F.3d 526, 528 (6th Cir. 1996).- In re Water (Jse

    Permit Applications,94Haw. 97, 163-64,9 P.3d 409, 475.

           In the instant case all the public safety professionals submitted evidence that the proposed

    use would not present a   traffic safety hazard and seven persons familiar with Haumana Road

    testified in agreement with that assessment. The Commission was obligated to explain why it

    discounted that testimony, choosing to credit only the inapposite opinions of a lesser number   of
    opponents, most of whom were opposed for reasons that in fact had nothing to do with the acfual

   number, size or times of proposed uses.

           The testimony of the witnesses who opined that a traffic safety danger would result from


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    granting the Application is demonstrably inapposite. The witnesses' statements show that they

    were unaware of the contents of the Application and the amendments made to mitigate any

    traffrc concems. Some of the witnesses were objecting to "threats" that were not presented in the

    Application, and they were otherwise unaware of the fact that the temporary narrow conditions

    of Haumana Road could be ameliorated. Such scant and inapposite testimony does not justifu

    discounting reliable, probative and substantial evidence of the public officials charged with

    protecting the safety of the residents.

            C.      The Commission's Decision Was Arbitrary And Capficious and an Abuse of
                    Discretion.

            Perhaps the most emphatic (but flawed) testimony that the Application posed a traffic

    safety danger was not by any witness, but rather by Commission member Hedani, who also made

    clear on the record that he bore a grudge against the Applicant because the Department of Land

    and Natural Resources had required the Applicant to close a trail to the ocean that Mr. Hedani

    liked to use for fishing. (COM 000788-COM 000789.)

           Mr. Hedani: Here's my problem with that. I'm an avid fisherman.

           Mr. Honig: Yeah.

           Mr. Hedani: I fished down Haumana Road.

           Mr. Honig: Sure.

           Mr. Hedani: I don't go down Haumana Road all the way to the ocean because the
           Spirit of Aloha Temple has a gate at the end of the road and I can't go through the
           gate. So access to the ocean is essentially blocked by your gate. The Spirit of Aloha
           Temple has no aloha for the people of Maui that wanna access the ocean beyond your
           gate.

           Mr. Honig: That's is-

           Mr. Hedani: Where I go is on the tributary road to the right, to the bay that's to the
           right where I scale down a 200-foot cliff in order to get to the ocean. My problem is
           that your actions that you took in the past without permission, without seeking the
           permission that you should have sought from the Department of Land and Natural



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            Resources to make it safer or whatever has resulted in legal involvement of the
            Department of Land and Natural Resources to the point where people cant [sic] even
            access the ocean over that area at this point. That really bothers me.

    (COM 000789.) He then went on, not only to express his opinion based on the testimony of

    witnesses, but also to testify as to the fact issues   of road safety, as well as reiterating his
    resentment about beach access

            Mr. Hedani: I agree with Jack from the standpoint of the road. If you look at the
            draft conclusions of law under item B, it says the desired use would not affect
            surrounding properties. That's not true. The desired use will affect every single
            properfy that's on Haumana Road. I've been down Haumana Road. I've tried to access
            the ocean down Haumana Road. The applicant has caused beach access to be closed
            down Haumana Road. You can't get to the ocean down Haumana Road even if I
            wanted to. lt's affected everybody on the island that goes fishine from the standpoint
            oftraditional access rights. Safety is an issue on the road. There are blind curves on
            the road. We've seen pictures today that demonstrate that the road is 10 feet wide in
            places, 1l feet wide according to Public Works. That's not enough for two lanes of
            traffic. I've driven down the road. I know there are blind curves. I know there's
            children playing on the road and it's dangerous. I don't think we need to give one year
            for somebody to get killed, a small child to get killed in order to make up our minds
            as to whether or not it's safe or unsafe.

            The applicant's representatives have said well if the road is dangerous then we should
            widen it. Widening the road, an agricultural road will affect every single property on
            Haumana Road. The applicant has said I would like the road to stay the way it is. lf
            you leave the road the way it is it's dangerous. lf widen it to 22 feet which is what
            Public Works has asked for then everybody gets assessed for that and it becomes a
            commercialroad,....

    (COM 000814 (emphasis added).)          It is clear that Commissioner   Hedani's hostile personal

    testimony regarding access for fishing, stated in practically the same breath as his discussion on

    the road, colored his view about "traffic safety."

           Mr. Hedani did not disclose his conflict of interest and grudge against the Applicant that

    might prevent him from fairly evaluating the Application as required by section l2-2}l-25 of the

    Rules of Practice and Procedure of the Maui Planning Commission, Title MC-12 of the Maui

    Code. Instead, he made factual testimony based not on testimony before him, but on his own

    opinion and his personal resentment. He then seconded the motion to deny the Application and


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    was one of only three Commissioners to vote to deny            it.   This was clearly arbitrary and

    capricious and an abuse ofdiscretion.

            The Hawaii Supreme Court discussed vital principles of fairness and due process in an

    administrative proceeding where there was no direct financial or familial interest on the part       of
    the agency member, but rather other reasons to suspect a prejudicial interest:

           The Supreme Court teaches us too that justice can "perform its high function in the
           best way fonly if it satisfies] 'the appearance of justice.' Offutt v. United States,348
           u.s. I l, 14,75 s. ct. 1 1,99 L. Ed. 11 l(1954)1." In re Murchison, supra. For in a
           popular government, "'justice must not only be done but manifestly be seen to be
           done. ..    .'
                        Rexv. Justices of Bodmin, Ll947l1 K.B. 321,325." Joint Anti-Fascist
           Refugee comm. v. McGrath. 341 u.s. 723, 172 n.19,71 s. ct. 624,95 L. Ed. 8r7
           (Frankfurter, J., concurring) (1 95 1)

           Sussel,   Tl Haw. at 107-08, 784P.2d at 870 (brackets in original).
                                                                            See also State v.
           Ross, 89 Hawai'i 371,379,974 P.Zd 11, 19 (1998) ("[A]side from the technical
           absence of bias or conflict of interest, certain sifuations may give rise to such
           uncertainty concerning the ability of the [adjudicator] to rule impartially that
           disqualifi cation becomes necessary.").

           We have held that "the test for disqualification due to the 'appearance of impropriety'
           is an objective one, based not on the beliefs ofthe petitioner or [adjudicator], but on
           the assessment of a reasonable impartial onlooker apprised of all the facts." Ross, 89
           Hawai'i at 380, 974 P.zd at 20. From this objective viewpoint, we fail to see how
           Wilson's dual status as adjudicator and litigant could not have reasonably cast doubt
           on his ability to rule with absolute impartiality. Indeed,

           [h]aving been a part of [the advocacy] process a[n adjudicator] cannot be, in the very
           nature of things, wholly disinterested in [the result]. While he [or she] would not
           likely have all the zeal of a [party] , it can certainly not be said that he [or she] would
           have none of that zeal. Murchison, 349 U.S. at L37 ,75 S. Ct. 623.

    In re Vf/ater Use Permit Applications, 94 Haw. 97,121-22,9 P.3d 409,433-34.

           Mr. Hedani clearly expressed both his antipathy to the Applicants and offered his own

    evidence against the Application. He then played a pivotal role in denying the Application. He

    should have been disqualified as an adjudicator who was also a de facto litigant (see Murchison,

    id.), and his failure to   recuse himself resulted   in a decision that was necessarily arbitrary,
    capricious and an abuse ofdiscretion.



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            An abuse of discretion occurs when the decisionmaker 'exceeds the bounds of reason
            or disregards rules or principles of law or practice to the substantial detriment of a
            party.' " In re Water Use Permit Applications, 94 Hawai'i 97, 183,9 P.3d 409,495
            (2000) (quoting Bank of Hawai'i v. Kunimoto, 9l Hawai'i 372, 397 , 984 p.Zd ll91,
            t2t3 (teee)).
    State v. Wiet,95 Haw.94,108,    l9 P.3d 42,56 (2001).

                                            CONCLUSION

           The Maui Planning Commission chose to discredit the reliable, probative and substantial

    testimony   of the Police, Fire and Public Works     Departments as well as seven non-expert

    witnesses that Haumana Road was safe for the uses requested      in the Application. Instead, the

    Commission chose to accept the testimony      of a handful of   witnesses who have no training,

    education or experience   in traffic safety and whose testimony    demonstrates that they were

    unaware of the true, limited nature of the Application. Substantial evidence does not support the

    Commission's conclusions.

           Such a conclusion is also arbitrary, capricious and an abuse of discretion, as one of the

    three Commissioners who voted to deny the Application was motivated by a serious animus

    against the Applicant   for reasons having nothing to do with the subject matter before      the

    Commission. Commissioner Hedani served as both an adjudicator and litigant in the proceeding.

           The Appellants therefore respectfully request that, pursuant to HRS $ 9l-14@), the Court

    reverse the Commission's October 30, 2014 Findings of Fact Conclusions of Law and Decision

    Denying State Special Land Use Permit, and provide for such other and further relief as the

    Court shall deem just and proper.




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                    DATED: Honolulu, Hawai'i, April   35   ,2016



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                                             FREDRICK R. HONIG




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                       IN THE CIRCUIT COURT OF THE SECOND CIRCUIT

                                          STATE OF HAWAII

   SPIRIT OF ALOHA TEMPLE AND                           Civil No. 16-1-0103   (l)
   FREDRICK R. HONIG,                                   (Agency Appeal)

                  Respondents-Appellants,               Agency Docket/Case No. SUP2 201210032

          vs.                                           CERTIFICATE OF SERVICE

   COUNTY OF MAUI AND MAUI
   PLANNING COMMISSION,

                  Agencies-Appellees




                                    CERTIFICATE OF SERVICE

                  The undersigned hereby certifies that a copy of the foregoing document was

   served upon the individuals listed below via first class mail.


                  PATRICK K. WONG
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                                      EXHIBIT "E"
